      Case 19-20257-CMB                        Doc 124         Filed 06/26/24 Entered 06/26/24 11:53:25                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              RUTH A. BENDEL


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-20257CMB




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 REDEVELOPMENT AUTHORITY OF                                                       13

 Last 4 digits of any number you use to identify the debtor's account                         8   0   3   2

 Property Address:                             581 RIVER RIDGE DR
                                               MCKEESPORT PA 15133




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        1,896.72

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        1,896.72

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        1,896.72



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $         $67.74
         The next postpetition payment is due on                 3 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                          page 1
  Case 19-20257-CMB                  Doc 124    Filed 06/26/24 Entered 06/26/24 11:53:25                           Desc Main
                                               Document Page 2 of 4



Debtor 1     RUTH A. BENDEL                                                   Case number (if known) 19-20257CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    06/26/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
  Case 19-20257-CMB            Doc 124    Filed 06/26/24 Entered 06/26/24 11:53:25                         Desc Main
                                         Document Page 3 of 4



Debtor 1     RUTH A. BENDEL                                           Case number (if known) 19-20257CMB
             Name




                                            Disbursement History

Date         Check #    Name                                Posting Type                                        Amount
MORTGAGE ARR. (Part 2 (b))
01/26/2024   1289027    ALLEGHENY COUNTY REDEVELOPMENT AUTHORITY
                                                         AMOUNTS DISBURSED TO CREDITOR                         1,013.25
02/26/2024   1291722    ALLEGHENY COUNTY REDEVELOPMENT AUTHORITY
                                                         AMOUNTS DISBURSED TO CREDITOR                           880.47
03/25/2024   1291722    ALLEGHENY COUNTY REDEVELOPMENT AUTHORITY
                                                         CANCELLED CHECK TO CREDITOR/PRINCIPLE                  -880.47
03/26/2024   1296245    REDEVELOPMENT AUTHORITY OF ALLEGHENY
                                                         AMOUNTS
                                                             COUNTY
                                                                 DISBURSED TO CREDITOR                           883.47
                                                                                                               1,896.72

MORTGAGE REGULAR PAYMENT (Part 3)
01/26/2024 1289027      ALLEGHENY COUNTY REDEVELOPMENT AUTHORITY
                                                         AMOUNTS DISBURSED TO CREDITOR                         4,132.14
                                                                                                               4,132.14




Form 4100N                                 Notice of Final Cure Payment                                          page 3
  Case 19-20257-CMB            Doc 124     Filed 06/26/24 Entered 06/26/24 11:53:25                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 4 of 4
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

RUTH A. BENDEL
581 RIVER RIDGE ROAD
MCKEESPORT, PA 15133-2405

LAUREN M LAMB ESQ
STEIDL & STEINBERG
707 GRANT ST 28TH FLOOR
PITTSBURGH, PA 15219

REDEVELOPMENT AUTHORITY OF ALLEGHENY COUNTY
KOPPERS BUILDING - SUITE 500
436 7TH AVE
PITTSBURGH, PA 15219

ALLEGHENY COUNTY REDEVELOPMENT AUTHORITY
ONE CHATHAM CENTER STE 900
112 WASHINGTON PLACE
PITTSBURGH, PA 15219

PAPERNICK & GEFSKY LLC
301 GRANT ST
ONE OXFORD CENTER 34TH FL
PITTSBURGH, PA 15219




6/26/24                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
